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UNITED sTATEs DISTRICT CoURRWM
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HoUSToN DIVISIoN APR 1 1 2018
UNITED sTATEs oF AMERICA vavld&andl¢y.cl¢rkofcom
v. CRIMINAL No.

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JUAN CARLos CAsTILLo § UNDER sEAL
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Defendant

IMLC_M
THE GRAND JURY CHARGES;

_C_O_IM
(Conspiracy - 18 U.S.C. § 371)

Introduction

At all relevant times, unless otherwise specified:

l. The Foreign Corrupt Practices.Act of 1977 (“FCPA”), as amended,
Title 15, United States Code, Sections 78dd-l, et seq., Was enacted by Congress for
the purpose of, among other things, making it unlawful to act corruptly in
furtherance of an offer, promise', authorization, or payment of money or anything
of Value, directly or indirectly, to a foreign official for the purpose of obtaining or
retaining business for, or directing business to, any person.

2. Petroleos de Venezuela S.A. (“PDVSA”) Was the Venezuelan state-

oWned and state-controlled oil company. PDVSA and its subsidiaries and affiliates

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were responsible for the exploration, production, refining, transportation, and trade
in energy resources in Venezuela and provided funding for other operations of the
Venezuelan govemment. PDVSA Services, Inc. was the U.S.-based affiliate of
PDVSA located in Houston, Texas, that, at various times, was responsible for
international purchasing on behalf of PDVSA. Bariven S.A. was the PDVSA
procurement subsidiary responsible for equipment purchases. PDVSA and its
wholly owned subsidiaries, including PDVSA Services, Inc. and Bariven S.A.,
(hereinafter collectively referred to as “PDVSA”) were “instrumentalities” of the
Venezuelan government as that term is used in the FCPA, Title 15, United States
Code, Section 78dd-2(h)(2)(A). PDVSA officers and employees were “foreign
officials” as that term is used in the FCPA, Title 15 , United States Code, Sections
78dd-2(h)(2)(A).

3. PDVSA awarded contracts for logistics services such as freight
forwarding in a number of ways, including through a competitive bidding process
Typically, at the end of a contract period, there would be a competitive re-bidding
process. Sometimes, however, the existing contracts were extended for additional
periods of time.

4. “Company l,” a company whose identity is known to the Grand Jury,
was organized under the laws of Texas, and headquartered in the Southern District

of Texas. Company l was thus a “domestic concem” as that term is used in the

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FCPA, Title 15, United States Code, Section 7 8dd-2(h)(l). Company l provided
logistics services pursuant to contracts with PDVSA. Company l was one of a

group of family-owned companies that performed services for PDVSA.
The Defendant and His Co-Conspirators

5. Defendant JUAN CARLOS CASTILLO RINCON (“CASTILLO”)
was a naturalized U.S. citizen and a resident of Texas. CASTILL() was a
manager of Company l. CASTILLO was thus a “domestic concern” and an
officer, director, employee, agent, and shareholder of a “domestic concem” as
those terms are used in the FCPA, Title 15 , United States Code, Section 78dd-
Z(h)(l).

6. “Co-Conspirator l,” an individual whose identity is known to the
Grand Jury, was a naturalized U.S. citizen and a relative of CASTILLO. Co-
Conspirator l owned and controlled Company l. Co-Conspirator l was thus a
“domestic concem” and an officer, director, employee, agent, and shareholder of a
“domestic concem” as those terms are used in the FCPA, Title 15, United States
Code, Section 78dd-2(h)(l).

7. “Employee A,” an individual whose identity is known to the Grand
Jury, was an employee of Company l.

8. “Employee B,” an individual whose identity is known to the Grand

Jury, was an employee of Company l.

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The Foreign Offlcial

9. “Official A,” an individual whose identity is known to the Grand Jury,
was at all relevant times employed by PDVSA, including as a manager at PDVSA
Services, Inc. Official A’s job responsibilities included supervising the
procurement process and maintaining relationships with current PDVSA vendors.
ln that capacity, Official A had the authority to compile lists of vendors that were
invited to bid on upcoming PDVSA contracts. Official A was a “foreign official”

as that term is used in the FCPA, Title 15, United States Code, Sections 78dd-

2(h)(Z)(A)-
The Consgiracy

10. Beginning in or around 2011 and continuing through at least 2013, in

the Southern District of Texas, and elsewhere, the defendant,

JUAN CARLOS CASTILLO RINCON
did willfully and knowingly conspire, confederate, and agree with Co-Conspirator
1 and others known and unknown to the Grand Jury to commit offenses against the
United States, that is, to willfully make use of the mails and means and
instrumentalities of interstate commerce corruptly in furtherance of an offer,
payment, promise _to pay, and authorization of the payment of any money, offer,

gift, promise to give, and authorization of the giving of anything of value to a

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foreign official and to a person, while knowing that all and a portion of such
money and thing of value would be and had been offered, given, and promised to a
foreign official, for purposes of: (i) influencing acts and decisions of such foreign
official in his official capacity; (ii) inducing such foreign official to do and omit to
do acts in violation of the lawful duty of such official; (iii) securing an improper
advantage; and (iv) inducing such foreign official to use his influence with a
foreign government and agencies and instrumentalities thereof to affect and
influence acts and decisions of such government and agencies and
instrumentalities, in order to assist CASTILLO, Company 1, Co-Conspirator l,
and others, in obtaining and retaining business for and with, and directing business
to, Company 1 and its associated companies, and others, in violation of the Foreign

Corrupt Practices Act, Title 15, United States Code, Section 78dd-2(a).
Purpose of the Conspiracv

ll. The purpose of the conspiracy was for CASTILL() and his co-
conspirators to enrich themselves by obtaining and retaining lucrative logistics
contracts with PDVSA through corrupt and fraudulent means, including by paying

bribes to PDVSA officials

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Manner and Means of the Conspiracv

12. The manner and means by which CASTILLO and his co-conspirators
sought to accomplish the purpose of the conspiracy included, among other things,
the following, while in the Southem District of Texas and elsewhere:

13. CASTILLO and Co-Conspirator l, together with others, conspired to
pay bribes to Official A, including through the use of interstate and foreign wires
in order to influence acts and decisions of Official A in his official capacity and to
induce Official A to do and omit to do certain acts, including, but not limited to:

a. assisting Company 1 in winning PDVSA contracts and contract

extensions;

b. providing CASTILLO with inside information concerning the PDVSA

bidding process;

c. supporting Company 1 in internal PDVSA meetings regarding PDVSA

purchasing decisions;

d. requesting modification of Company l’s contract with PDVSA to the

advantage of Company 1.
14. CASTILLO, together with others, caused cash for bribe payments to

be withdrawn from Company 1’s bank accounts and to be provided to Official A.

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15. CASTILLO, together with others, caused bribe payments to be wired
from Company 1’s bank account to a bank account of in the name of a relative of
Official A, and whom foicial A had designated to receive the bribes.

16. CASTILLO, together with others, attempted to conceal the bribes to
Official A, by creating false justifications for the bribes, including requesting or
receiving invoices for services that were never rendered in order to disguise the

bribe payments to Official A.
Overt Acts

17. ln furtherance of the conspiracy and to achieve the objects thereof, at
least one of the co-conspirators committed or caused to be committed, in the
Southem District of Texas and elsewhere, at least one of the following overt acts,
among others:
a. On or about December 19, 2012, CASTILLO sent an email to an
employee of Company 1 stating, in part and as translated into English,
“Please make me a check payable to cash in the amount of 13,000 to
cover the monthly payment of [Official A.]. l will cash it tomorrow
morning as he comes to collect the money at 12.”

b. At some point in or around 2012 or 2013, CASTILLO offered to pay
Official A additional bribes if Official A could assist Company 1 by

adding an in/out fee provision to Company 1’s contract with PDVSA
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when that contract was extended The in/out fee provision allowed
Company l to charge PDVSA an additional fee every time Company l
processed PDVSA equipment at one of its facilities, thereby generating
additional revenue for Company l. Official A agreed.

c. ln or around early 2013, CASTILLO directed Official A to provide him
with a bank account into which CASTILLO could cause bribes to be
transferred directly, instead of withdrawing cash from Company 1’s
account.

d. On or about March 26, 2013, CASTILLO sent an email to Employee A,
copying Co-Conspirator 1, and stating, in part and as translated into
English, “you will receive an invoice from [a relative of Official A], once
you get it please send it to [Employee B] and myself asking us to please
make the payment for the [Company 1] account here in Houston.”

e. On or about June 4, 2013, Employee A received the invoice referenced in
the March 26, 2013 email. The invoice was for $59,928.87, and directed
Company 1 to send the payment to an account in the Cayman Islands in
the name of a relative of Official A.

f. On or about June 10, 2013, Employee A emailed the invoice referenced
in Paragraph l7(e) above to Employee B, and copied CASTILLO as

instructed

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g. On or about June 10, 2013, in response to Employee A’s June 10, 2013
email referenced in Paragraph 17(f) above, Employee B emailed
CASTILLO asking “What is this for?”

h. On or about June 10, 2013, CASTILLO replied to the email referenced
in Paragraph 17 (g) above, stating, in part and as translated into English,
“[t]his is to cover the expenses of [Official A] from PDVSA. lt includes
his monthly payment, plus the additional amount that we agreed to based
on the volume they give us.” In the email, CASTILLO also requested
that Employee B “move forward with this transfer as soon as possible.”

i. On or about June 10, 2013, CASTILLO caused $59,928.87 to be
transferred from a bank account in the Southem District of Texas in the
name of Company l into a bank account in the Cayman lslands held in
the name of a relative of Official A, in exchange for Official A’s
assistance in connection with PDVSA contracts

j. On or about September 27 , 2013, CASTILLO caused $63,860.00 to be
transferred from a bank account in the Southem District of Texas in the
name of Company 1 into a bank account in the Cayman lslands held in
the name of a relative of Official A, in exchange for Official A’s

assistance in connection with PDVSA contracts

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k. On or about October 18,'2013, CASTILLO caused $63,860.00 to be
transferred from a bank account in the Southem District of Texas in the
name of Company l into a bank account in the Cayman lslands held in
the name of a relative of Official A, in exchange for Official A’s
assistance in connection with PDVSA contracts.

l. On or about January 3, 2014, at CASTILLO’s request, Employee B
emailed CASTILLO a list of payments The “vendor” listed for five of
the payments, totaling $48,000, was Official A. The “vendor” listed for
an additional two payments, totaling $l27,720, was a fictitious company,
named after a relative of Official A.

All in violation of Title 18, United States Code, Section 371.

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COUNTS TWO - FOUR
(Foreign Corrupt Practices Act - 15 U.S.C. § 78dd-2; 18 U.S.C. § 2)

18. Paragraphs 1 through 9 and 11 through 17 are realleged and
incorporated by reference as though fully set forth herein.
19. On or about the dates set forth below, in the Southem District of

Texas and elsewhere, the defendant,

JUAN CARLOS CASTILLO RINCON,
being a domestic concern and an officer, director, employee, agent, and
shareholder of a domestic concern, and by aiding and abetting a domestic concem,
did willfully use and cause to be used the mails and means and instrumentalities of
interstate commerce corruptly in furtherance of an offer, payment, promise to pay,
and authorization of the payment of money, offer, gift, promise to give, and
authorization of the giving of anything of value to a foreign official, and to a
person, while knowing that all and a portion of such money and thing of value
would be and had been offered, given, and promised to a foreign official, for
purposes of: (i) influencing acts and decisions of such foreign official in his or her
official capacity; (ii) inducing such foreign official to do and omit to do acts in
violation of the lawful duty of such official; (iii) securing an improper advantage;
and (iv) inducing such foreign official to use his or her influence with a foreign

government and agencies and instrumentalities thereof to affect and influence acts

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and decisions of such government and agencies and instrumentalities in order to

assist CASTILLO, Company l, Co-Conspirator l, and others in obtaining and

retaining business for and with, and directing business to, Company 1 and its

associated companies, and others, as follows:

 

 

COUNT DATE MEANS AND INSTRUMENTALITIES OF
INTERSTATE COMMERCE
Two June 10, 2013 $59,928.87 wire transfer from Company 1’s

bank account in the Southem District of Texas
to a bank account in the Cayman lslands in the
name of a relative of Official A (“the Cayman
lslands account”).

 

Three September 27, 2013

$63,860.00 wire transfer from Company 1’s
bank account in the Southem District of Texas
to the Cayman lslands account.

 

Four October 18, 2013

 

 

 

$63,860.00 wire transfer from Company 1’s
bank account in the Southem District of Texas
to the Cayman lslands account.

 

All in violation of Title 15, United States Code, Section 78dd-2, and Title

18, United States Code, Section 2.

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COUNT FIVE '
(Conspiracy to Commit Money Laundering - 18 U.S.C. § l956(h))

20. Paragraphs 1 through 9 and 11 through 17 are realleged and
incorporated by reference as though fully set forth herein.
21. From in or around April 2013, and continuing through at least GCtober

2013, in the Southem District of Texas and elsewhere, the defendant,

JUAN CARLOS CASTILLO RINCON

did knowingly conspire, confederate, and agree with Official A and others known

and unknown to the Grand Jury, to commit offenses under Title 18, United States

Code, Section 1956, namely

a. knowing that the property involved in a financial transaction represented the
proceeds of some form of unlawful activity, to conduct or attempt to conduct
such a financial transaction which in fact represented the proceeds of
specified unlawful activity, knowing that the transaction is designed in
whole or in part to conceal and disguise the nature, the location, the source,
the ownership, and the control of the proceeds of specified unlawful activity,
namely, bribery of a foreign official, a felony violation of the FCPA, Title
15, United States Code, Sections 7de-2, in violation of Title 18, United
States Code, Section 1956(a)(l)(B)(i); and
l b. transporting, transmitting, or transferring, or attempting to transport,

transmit, or transfer a monetary instrument or funds from a place in the

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United States to or through a place outside the United States or to a place in
the United States from or through a place outside the United States with the
intent to promote the carrying on of specified unlawful activity, namely,
bribery of a foreign official, a felony violation of the FCPA, Title 15 United
States Code, Sections 78dd-2, in violation of Title 18, United States Code,

Section 1956(a)(2)(A).
Manner and Means of the Conspiracl

22. The manner and means by which CASTILLO and his co-conspirators
sought to accomplish the purpose of the conspiracy included, among other things,
the following, while in the Southem District of Texas and elsewhere:

23. CASTILLO, together with others, procured lucrative logistics
contracts from PDVSA Services lnc. through corrupt and fraudulent means,
including by paying bribes to PDVSA officials

24. CASTILLO and Official A, together with others, created false
justifications for certain of the bribes, including invoices for services that were
never performed, for the purpose of concealing and disguising the nature, source,
and ownership of those bribe payments

25. CASTILLO, together with others, directed the wire transfer of, and

caused to be wired, bribe payments from Company 1’s bank account in the United

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States to a bank account outside of the United States, the Cayman lslands account,
for the purpose of promoting the bribery scheme.

26. CASTILLO and Official A, together with others, directed bribe
payments to be sent to a recipient other than Official A, namely a relative of
Official A who was the owner of the Cayman lslands account, for the purpose of
concealing and disguising the nature, source, and ownership of the bribe payments,
and promoting the ongoing bribery scheme

27 . After CASTILLO had transferred funds to the Cayman lslands
account, Official A directed the wire transfer of, and caused to be wired, a portion
of the funds to various bank accounts in the United States held in Official A’s
name and in the names of his relatives, for the purpose of concealing and
disguising the nature, source, and ownership of the bribe payments, and promoting
the ongoing bribery scheme.

All in violation of Title 18, United States Code, Section 1956(h).

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NoTICE oF CRIMINAL FoRFEITURE
(28 U.s.C. § 2461(¢); 18 U.s.C. § 981(3)(1)(€))

28. Pursuant to Title 28, United States Code, Section 2461(c) and Title
18, United States Code, Section 981(a)(1)(C), the United States gives notice to the

defendant,

JUAN CARLOS CASTILLO RINCON,
that in the event of conviction of any of the offenses charged in Counts 1 through 4
of this lndictment, the United States intends to seek forfeiture of all property, real or

personal, which constitutes or is derived from proceeds traceable to such offenses

NoTICE oF FoRFEITURE
(18 U.s.C. § 982(3)(1))

29. Pursuant to Title 18, United States Code, Section 982(a)(1), the

United States gives notice to the defendant,

JUAN CARLOS CASTILLO RINCON,
that upon conviction of the offense charged in Count 5 of this lndictment, all
property, real or personal, involved in money laundering offenses or traceable to

such property, is subject to forfeiture

PROPERTY IN SUBSTITUTION
29. ln the event that a condition listed in Title 21, United States Code,

Section 853(p) exists, the United States may seek to forfeit any other property of

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the defendant in substitution up to the total value of the property subject to

forfeiture The United States may seek the imposition of a money judgment

against the defendant

RYAN K. PATRICK
UNITED STATES ATTORNEY

BY; %/%W/\/` BY;

JoHN P. PEARsoNv
DEPUTY CHIEF

RoBERT s JoHNsoN
AssisTANr UNITED sTATEs
ArToRNEY

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A TRUE BILL

Original Signature on File

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sANDRA MosER
ACTING CHIEF,

FRAUD sECTIoN
CRIMINAL DivlsloN ,
DEPARTMENT oF JUsTICE ’f»

ISAviD A. LAsT
AssisTANr CHIEF,
FRAUD sECrioN
sARAH E. EDwARDs
JEREMY R. sANDERs
TRIAL ATToRNEYs

